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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :      Case No. 21-CR-83 (TNM)
       v.                                    :
                                             :
BRANDON FELLOWS,                             :
                                             :
               Defendant.                    :



                                 NOTICE OF APPEARANCE

       The United States of America, by and through its undersigned counsel, the United States

Attorney for the District of Columbia, hereby informs the Court that Assistant United States

Attorney Carolina Nevin is entering her appearance in this matter on behalf of the United States.



                                                    Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    UNITED STATES ATTORNEY
                                                    D.C. Bar No. 481052

                                                    /s/ Carolina Nevin
                                                    CAROLINA NEVIN
                                                    Assistant United States Attorney
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        Case 1:21-cr-00083-TNM Document 103 Filed 02/21/23 Page 2 of 2




                               CERTIFICATE OF SERVICE

       On this 21st day of February 2023, a copy of the foregoing was served upon all parties

listed on the Electronic Case Filing (ECF) System.

                                                     /s/ Carolina Nevin
                                                     CAROLINA NEVIN
                                                     Assistant United States Attorney




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